           Case 2:06-cr-00461-JAM Document 12 Filed 01/12/07 Page 1 of 2


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 4
     Attorney for VIRGINIA ROMERO,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. CR.S-06-0461-GEB
                                        )
12                   Plaintiff,         )   MOTION and ORDER ACCEPTING
                                        )   WAIVER OF PERSONAL APPEARANCE
13        v.                            )   AT ARRAIGNMENT
                                        )
14   VIRGINIA ROMERO,                   )
                                        )   Date: January 19, 2007
15                   Defendant.         )   Time: 2:00 p.m.
                                        )   Judge: Hon. Gregory G. Hollows
16                                      )
17
18        Defendant VIRGINIA ROMERO, by and through her attorney, hereby
19   moves this court pursuant to Rule 10(b) of the Federal Rules of
20   Criminal Procedure to permit her to waive personal appearance at the
21   arraignment on the Indictment in the within matter presently set for
22   January 19, 2007, for the following reasons:
23        1.   The defendant is temporarily residing in South Carolina caring
24   for her elderly, disabled aunt and uncle.       She plans to return to her
25   home in California in mid-February, at which time other family members
26   will provide for the care of the aunt and uncle.         The defendant is
27   disabled, has insufficient funds to retain counsel and has requested
28                                          ///


                                            -1-
              Case 2:06-cr-00461-JAM Document 12 Filed 01/12/07 Page 2 of 2


 1   court-appointed counsel. Travel to this District for a one-day
 2   appearance would be unduly burdensome.
 3        2.      The defendant has filed herein a written waiver of her
 4   appearance affirming that she has received a copy of the Indictment,
 5   waives a formal reading of same, and enters a plea of not guilty.
 6        3.      The defendant made an initial appearance in the District of
 7   South Carolina, Charleston Division, pursuant to Rule 40 of the Federal
 8   Rules of Criminal Procedure on December 8, 2006, was released on her
 9   own recognizance on that date by order of George C. Kosko, U.S.
10   Magistrate Judge, and has remained under the supervision of Pretrial
11   Services in that District to date.
12        4.      Counsel for the Government, Matthew D. Segal, has stated to
13   the undersigned that he has no objection to waiver of this defendant's
14   appearance at arraignment.
15
16   Dated:    January 9, 2007
                                               Respectfully submitted,
17
18                                             /s/ CANDACE A. FRY
                                               CANDACE A. FRY, Attorney for
19                                             VIRGINIA ROMERO, Defendant
20
21                                        O R D E R
22        For good cause shown, defendant VIRGINIA ROMERO'S request to waive
23   her appearance at arraignment on the Indictment in this matter is
24   hereby GRANTED.
25   Dated: 1/12/07
26                                       /s/ Gregory G. Hollows
27                                       GREGORY G. HOLLOWS
     romero.ord                          U.S. MAGISTRATE JUDGE
28


                                              -2-
